Case 4:21-cv-00659 Document 49 Filed on 03/15/22 in TXSD Page 1 of 7
                                                             United States District Court
                                                               Southern District of Texas

                                                                  ENTERED
                                                                 March 16, 2022
                                                               Nathan Ochsner, Clerk
Case 4:21-cv-00659 Document 49 Filed on 03/15/22 in TXSD Page 2 of 7
Case 4:21-cv-00659 Document 49 Filed on 03/15/22 in TXSD Page 3 of 7
Case 4:21-cv-00659 Document 49 Filed on 03/15/22 in TXSD Page 4 of 7
Case 4:21-cv-00659 Document 49 Filed on 03/15/22 in TXSD Page 5 of 7
Case 4:21-cv-00659 Document 49 Filed on 03/15/22 in TXSD Page 6 of 7
Case 4:21-cv-00659 Document 49 Filed on 03/15/22 in TXSD Page 7 of 7
